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2

3                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA,                   No. 2:14-CR-0120-SMJ-3
5
                                 Plaintiff,
6                                                ORDER ADOPTING REPORT
                 v.                              AND RECOMMENDATION,
7                                                SETTING SENTENCING, AND
     ALYCIA JEAN SCOTT,                          ESTABLISHING SENTENCING
8                                                BRIEFING SCHEDULE
                                 Defendant.
9

10         Before the Court is Magistrate Judge Rodgers’s April 13, 2015 Report and

11   Recommendation, ECF No. 178, recommending that the Court finds Defendant’s

12   plea of guilty is knowing, intelligent, and voluntary and is not induced by fear,

13   coercion, or ignorance. No objections have been filed.

14         After reviewing the Report and Recommendation and relevant authorities,

15   the Court finds the Magistrate Judge’s findings are correct. Therefore, the Court

16   adopts the Report and Recommendation in its entirety.

17         Accordingly, IT IS HEREBY ORDERED:

18         1.    The Report and Recommendation, ECF No. 178, is ADOPTED in

19               its entirety.

20



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1         2.     The Court finds that Defendant's guilty plea to Misprison of Felony

2                of the Information Superseding the Superseding Indictment is

3                knowing, intelligent, and voluntary and is not induced by fear,

4                coercion, or ignorance. The Court finds this plea is given with the

5                knowledge of the charged crime, the essential elements of the

6                charged crime, the Government's evidence of the charged crime, and

7                the consequences of pleading guilty. The Court further finds that the

8                facts admitted to by Defendant in open court constitute the essential

9                elements of the crime charged.

10        3.     Defendant's guilty plea to Misprison of Felony is ACCEPTED.

11        4.     All pending motions are DENIED AS MOOT.

12        5.     The trial date is STRICKEN.

13        6.     In the event an Order is entered permitting withdrawal of the guilty

14               plea, Speedy Trial Act time will be calculated consistent with 18

15               U.S.C. § 3161(i).

16        7.     The date of the sentencing is Tuesday, August 25, 2015, at 10:45

17               AM in SPOKANE.

18        8.     If a sentence of incarceration is imposed, Defendant shall be placed

19               in custody at the time of sentencing. Sentencing will be scheduled

20               for a total of forty-five (45) minutes.       If it is believed that the




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1                sentencing hearing will last longer, counsel shall contact Chambers

2                within fourteen (14) days of disclosure of the presentence

3                investigation report.   Pending sentencing, Defendant’s detention

4                status or release status shall remain pursuant to this court's previous

5                order. The United States Probation Office shall prepare a timely

6                presentence investigation report that will comply with the following

7                schedule:

8                1.    Not less than thirty-five (35) days prior to the sentencing

9                      hearing, the probation officer shall disclose the pre-sentence

10                     investigation report to the Defendant, counsel for Defendant,

11                     and the Government.

12               2.    Within fourteen (14) days of the disclosure of the pre-

13                     sentence investigation report, counsel shall communicate in

14                     writing to the probation office any objections they may have as

15                     to factual errors or omissions; sentencing classifications;

16                     sentencing guideline ranges; and policy statements contained

17                     in or omitted from the report. Such communication may be

18                     oral initially but shall immediately be confirmed in writing to

19                     the probation officer and opposing counsel.

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1                3.   Also within fourteen (14) days of disclosure of the

2                     presentence investigation report, counsel shall file and serve all

3                     motions and memoranda pertaining to Defendant's sentence,

4                     including motions for downward or upward departures.

5                     Counsel shall utilize the following format when preparing

6                     initial memoranda which are limited to twenty pages (absent

7                     prior Court permission to file an overlength brief): I. Base

8                     Offense Level & Enhancements, II. Departures, III. 18 U.S.C.

9                     3553(a). Under the "Base Offense Level & Enhancements"

10                    section, counsel shall discuss whether the PSIR's Total Offense

11                    Level calculations (not including departures) are correct or

12                    incorrect, providing legal authority for the party's position.

13                    Under the "Departure" section, counsel shall discuss whether a

14                    downward and/or upward departure is warranted under the

15                    Guidelines and provide legal authority for such position.

16                    Under the "18 U.S.C. 3553(a)" section, counsel shall discuss

17                    whether the resulting guideline range provides a reasonable

18                    sentence sufficient, but not greater than necessary, to comply

19                    with the purposes set forth in 18 U.S.C. 3553(a)(2),

20                    considering the other factors listed in 3553(a). The parties are




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1                     limited to one reply of no more than 7 pages.          No other

2                     pleadings are allowed without advance permission of the

3                     Court.   FAILURE TO FILE AND SERVE A MOTION

4                     FOR DOWNWARD DEPARTURE WITHIN 14 DAYS OF

5                     RECEIPT OF THE PRESENTENCE INVESTIGATION

6                     REPORT WILL BE DEEMED A WAIVER OF THE

7                     RIGHT TO DO SO. The time frame for filing and serving

8                     responses to such motions shall be governed by Local Criminal

9                     Rule 45. Any request with regard to self-reporting shall be

10                    made to the probation office at the same time any

11                    objections/motions are filed.

12               4.   After receiving counsel's objections, the probation officer shall

13                    conduct any further investigation and make any revisions to

14                    the presentence report that may be necessary. The probation

15                    officer may require counsel for both parties to meet with the

16                    officer to discuss unresolved factual and legal issues, and

17                    counsel shall make themselves available for that purpose.

18               5.   At least ten (10) days prior to the date of the sentencing

19                    hearing the probation officer shall submit the presentence

20                    report to the sentencing judge.          The report shall be




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1                     accompanied by an addendum setting forth any objections

2                     counsel may have made, including those that have not been

3                     resolved,   together   with   the   officer's   comments    and

4                     recommendations thereon. The probation officer shall certify

5                     that the contents of the report other than sentencing

6                     recommendations, including any revisions or addenda, have

7                     been disclosed to counsel for Defendant and the Government,

8                     and that the addendum fairly states any remaining objections.

9                6.   Except with regard to any written objection made under

10                    subdivision (a), the report of the presentence investigation and

11                    computations shall be accepted by the Court as accurate. For

12                    good cause shown, however, the court may allow a new

13                    objection to be raised at any time before the imposition of

14                    sentence. In resolving disputed issues of fact, the court may

15                    consider any reliable information presented by the probation

16                    officer, Defendant, or the Government.

17               7.   Nothing in this rule requires the disclosure of any portions of

18                    the presentence report that are not disclosable under Rule 32 of

19                    the Federal Rules of Criminal Procedure.

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1                           8.          The presentence report shall be deemed to have been disclosed

2                                       (1) when a copy of the report is physically delivered; or (2) one

3                                       day after the availability of the report for inspection is orally

4                                       communicated; or (3) three days after a copy of the report, or

5                                       notice of its availability is mailed to counsel, whichever date is

6                                       earlier.

7                           9.          Following sentencing, Defendant shall be taken into the

8                                       custody of the United States Marshal Service unless (1)

9                                       Defendant has been released prior to sentencing, (2) Defendant

10                                      specifically requests the opportunity to self-report, and (3)

11                                      Defendant demonstrates that he is a candidate for self-

12                                      reporting. If Defendant requests the opportunity to self-report,

13                                      Defendant must demonstrate the financial ability to travel to a

14                                      facility on the East Coast.

15              IT IS SO ORDERED. The Clerk’s Office is directed to enter this order

16   and to provide copies to counsel, the U.S. Probation Office, the U.S. Marshals

17   Service, and Magistrate Judge Rodgers.

18              DATED this 5th day of May 2015.

19
                                        ______________________________
20                                      SALVADOR MENDOZA, JR.
                                        United States District Judge

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